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April 28, 2025

Hon. Jil Mazer-Marino

U.S. Bankruptcy Court, EDNY

Conrad B. Duberstein Courthouse

271-C Cadman Plaza East - Suite 1595

Brooklyn, NY 11201-1800

Reference case number: 1-25-41368-jmm

Debtor listed: Avon Place LLC

Dear Honorable Judge Mazer-Marino,

I am writing to bring to your attention the significant shortcomings and ongoing negligence my
family and I have experienced as tenants at Avon Place over the past eighteen months. Our
safety and well-being have been compromised on numerous occasions due to hazardous
conditions within the complex.

During our time here, we have endured three separate fires within the apartment complex—two
of which occurred in our own building—electrical shortages, and persistent mold issues, among
other concerns. When we first arrived at Avon Place, the condition of the apartment was so
unacceptable that I had to hire a cleaning crew to prepare it for my family’s arrival. Additionally,
there were no fire extinguishers or carbon monoxide detectors present, prompting us to install
those essential safety devices ourselves. It was only during a fire marshal inspection that
carbon monoxide detectors were finally installed on the walls—an overdue response that
demonstrates a clear disregard for public safety.

Furthermore, the management's handling of waste has been inadequate. The trash bins
frequently overflow, and it often takes several days for the staff to clean up after bears rummage
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through the dumpsters. In winter, while some snow removal occurs, the parking lots remain
excessively icy without the application of salt or sand, leading to dangerous walkways. The poor
lighting in the parking lots exacerbates these safety concerns, as do the numerous dangerous
potholes that have developed.

Security has also been a major issue. The front door lock was easily manipulable for an
extended period, allowing unauthorized individuals the opportunity to enter the building with
minimal effort. It took approximately eight months for management to replace this lock. Even
after the new lock was installed, the management inappropriately taped the door open because
they didn’t have enough keys for all residents, once again exposing my family to unnecessary
risk.

I understand that not all individuals are aware of the ongoing bankruptcy situation surrounding
Avon Place. However, as informed tenants, we fear that we will likely not receive our security
deposits back, raising questions about how this situation has been handled. It is concerning to
me that the management appears focused on restructuring their debts rather than addressing
the safety and security of their tenants.

As a current tenant, I implore you to consider denying the approval of this bankruptcy. Allowing
Avon Place to proceed without accountability will only perpetuate their negligence and misuse of
tenant funds. For my family and me, justice means ensuring that those responsible for our
safety and wellbeing are held to account, rather than being allowed to continue their
mismanagement under the guise of a fresh start.

I appeal to you from a humanitarian perspective. The tenants of Avon Place deserve their
security deposits and peace of mind. They have a responsibility to the community and to those
they have wronged over the years.

Justice in this instance means not permitting these individuals to simply avoid accountability
through bankruptcy, but instead ensuring that they are responsible for their actions. This
affirmation of accountability would greatly enhance the security and trust we all seek in our living
environments, allowing us to rest easier at night.

Thank you for your time and consideration of this matter.

Sincerely,

Ricardo Ramirez
